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IN THE UNITED STATES DISTRICT COURT “£2 =» —— ENTERED

FOR THE DISTRICT OF MARYLAND. LOGGED RECEIVED
UNITED STATES OF AMERICA FEB 2 9 2024
AT GREENBELT

\ CLERK, U.S. DISTRICT COURT
DISTRIQKOR MARYLAND

BY EPUTY

SAMUEL SWEELEY Criminal Action No. TDC-23-0381
Defendant.

REGULAR SENTENCING ORDER

(1) On or before Tuesday, April 09, 2024 (not more than 40 days from the date of this
order), the Probation Officer shall provide the initial draft of the presentence report to counsel for
the Defendant for review with the Defendant. If the Defendant is in pretrial detention, defense
counsel may not provide a copy of the recommendations section of the presentence report to the
Defendant in advance of meeting to review the presentence report, and may not leave the
recommendations section of the presentence report with the Defendant once the review has taken
place. The Probation Officer shall also provide the initial draft of the presentence report to
counsel for the Government.

(2) On or before Tuesday, April 23, 2024 (not less than 14 days from date in paragraph 1),

counsel shall submit, in writing, to the Probation Officer and opposing counsel, any objections to
any material information, sentencing classifications, advisory sentencing guideline ranges, or
policy statements contained in or omitted from the report.

(3) After receiving counsel’s objections, the Probation Officer shall conduct any
necessary further investigation and may require counsel for both parties to meet with the
Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall

make any revisions to the presentence report deemed proper, and, in the event that any objections

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made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting
forth those objections and any comment thereon.

(4) On or before Monday, May 06, 2024 (not tess than 11 days from date in paragraph 2),

the Probation Officer shall file the report (and any revisions and addendum thereto) through
CM/ECF. .

(5) If counsel for either party intends to call any witnesses at the sentencing hearing,
counsel shall submit, in writing, to the Court and opposing counsel, on or before

Tuesday, June 04, 2024 (not less than 14 days before sentencing), a statement containing (a) the

names of the witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the
anticipated length of the hearing.

(6) Sentencing memoranda are not required unless a party intends to request 4
sentence outside the advisory guidelines range on the basis of a non-guideline factor. If
submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before
Tuesday, June 04, 2024 (not fess than 14 days before sentencing). Copies of all memoranda must be
sent to the Probation Officer. Sentencing memoranda are not sealed documents. If the
memoranda or attachments contain sensitive material, they should be filed under seal and
accompanied by a motion to seal.

(7) Any motions relating to sentencing, including motions for a continuance, shall .

be filed and delivered to chambers on or before Tuesday, June 04, 2024 (14 days before sentencing).

No motions for a continuance filed after this deadline will be granted absent extraordinary
circumstances. Any responses to motions shall be filed on or before Tuesday, June 11) 2024 (7

days before sentencing). No reply memoranda shall be filed. .

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(8) If the Government intends to seek restitution, a memorandum requesting

restitution and all supporting documentation shall be filed on or before Tuesday, June 04, 2024

(not less than 14 days before sentencing). Failure to provide the restitution information or an

explanation for why the restitution information is not yet ascertainable by this date may result in

an order to show cause why the information could not have been timely provided and may result

in the Court denying or delaying restitution until after a hearing not to exceed 90 days aft

sentencing.

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(9) Any other written materials relating to sentencing, including but not limited to

letters or statements by the defendant, family members, victims, or others, shall be delive

chambers no later than Tuesday, June 11, 2024 (7 days before sentencing).

(10) If either party intends to seek a change in the defendant’s release status at

red to

- sentencing, including requiring the defendant to be taken into custody immediately following

sentencing, that party shall inform the Court, opposing counsel and the Pretrial Services Officer

on or before Friday, June 14, 2024. Failure to do so may result in denial of the requested

change.

(11) Sentencing shall be on Tuesday, June 18, 2024 at 2:30 p.m.

(12) The presentence report, any revisions, and any proposed findings made by

Probation Officer in the addendum to the report shall constitute the tentative findings of tl

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Court under section 6A1.3 of the sentencing guidelines. In resolving disputed issues of fact, the

Court may consider any reliable information presented by the Probation Officer, the Defe
or the Government, and the Court: may issue Its own tentative or final findings at any tims

or during the sentencing hearing.

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(13) Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules of Criminal Procedure 32.

February 29, 2024 a a
Date Theodore D. Chu

United States Disa

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